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                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT
                         1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                             April 5, 2025

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                                     RESPONSE REQUESTED
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        No. 25-1345,      Kilmar Abrego Garcia v. Kristi Noem
                          8:25-cv-00951-PX

        TO:    Kilmar Armando Abrego Garcia
               Jennifer Stefania Vasquez Sura
               A.A.V.

        RESPONSE DUE: 04/06/2025 @ 2:00 pm

        Response is required to the emergency motion for stay pending appeal and
        immediate administrative stay, on or before the date and time above.

        Cathi Bennett, Deputy Clerk
        804-916-2702
